MDNC (4/3/2024)
                             UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

                                                  )
                                                  )
                 Plaintiff(s),                    )
                                                  )        Case No.:
v.                                                )
                                                  )
                                                  )
                Defendant(s).                     )

            DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
          ENTITIES WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

      PLEASE COMPLETE ONLY ONE FORM FOR EACH NON-GOVERNMENTAL
CORPORATION, PARTNERSHIP, TRUST, LIMITED LIABILITY COMPANY, OR OTHER
SIMILAR ENTITY THAT IS A PARTY TO, OR THAT APPEARS IN, AN ACTION OR
PROCEEDING IN THIS COURT. COUNSEL HAVE A CONTINUING DUTY TO UPDATE
THIS INFORMATION. PLAINTIFF OR MOVING PARTY MUST SERVE THIS FORM ON
THE DEFENDANT(S) OR RESPONDENT(S) WHEN INITIAL SERVICE IS MADE.

                                      who is                                            ,
(Name of Party)                                 (Plaintiff/Moving Party or Defendant)

makes the following disclosure:

1.      Is party a publicly held corporation or other publicly held entity?

                ( ) Yes                           ( ) No

2.      Does party have any parent entities?

                ( ) Yes                           (   ) No

        If yes, identify all parent entities including grandparent, great-grandparent, etc.: ______




         Case 1:24-cv-00482-UA-JEP Document 2 Filed 06/11/24 Page 1 of 3
3.   Does party have any subsidiary or other affiliate entities (corporate or otherwise) that might be
     affected by the proceeding?

             ( ) Yes                           (   ) No


     If yes, identify all subsidiary or other affiliate entities (corporate or otherwise) that
     might be affected by the proceeding:




4.   Is 10% or more of the stock of the partyowned by a publiclyheld corporationor other publicly held
     entity?

             ( ) Yes                           ( ) No

     If yes, identify all such owners:



5.   Is there any other publicly held corporation or other publicly held entity that has a direct financial
     interest in the outcome of the litigation?

             ( ) Yes                           (   ) No

     If yes, identify entity and nature of interest:



6.   In all cases, pursuant to Fed.R.Civ.P.7.1(a)(2) and Local Rule 7.7(a)(2), the following is a
     list of all members or partners of ____________________________ and, in diversity
     cases, their states of citizenship:      (name of LLC or LP party)


     _____________________________                     _________________________________
           (name of member or partner)                         (state of citizenship)

     _____________________________                     _________________________________
           (name of member or partner)                         (state of citizenship)

     _____________________________                     _________________________________
           (name of member or partner)                         (state of citizenship)

     ______________________________                    __________________________________
           (name of member or partner)                         (state of citizenship)



                                                   2



      Case 1:24-cv-00482-UA-JEP Document 2 Filed 06/11/24 Page 2 of 3
Note: If there are additional members or partners, provide their names, and in diversity cases
states of citizenship, on a separate page. If any of the members or partners are an LLC or LP,
provide the names, and in diversity cases states of citizenship, of the members or partners on
a separate page, using the same method to identify the citizenship of members or partners
through any layered entities, traced back to corporations or individuals. See Capps v.
Newmark Southern Region, LLC, No. 21-1196 (4th Cir. Nov. 16, 2022).




       (Signature)                                                       (Date)




                                          3



  Case 1:24-cv-00482-UA-JEP Document 2 Filed 06/11/24 Page 3 of 3
